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                                              UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                          JANE DOE                                    :
                                                    Plaintiff,        :
                                 vs.                                  :         Case No.: 2:21-cv-02538
                                                                      :
                          BRYN MAWR COLLEGE, ET AL.                   :
                                          Defendants.                 :

                                        PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT

                                 Plaintiff, Jane Doe, pursuant to Federal Rule of Civil Procedure 55(a), hereby

                          requests that the Clerk enter a default against Defendant, David Barreto on the basis

                          that the record in this case demonstrates that Barreto has failed to plead or otherwise

                          defend this action. An Affidavit in support of this Request is attached hereto as Exhibit

                          “A.”

                                 WHEREFORE, Plaintiff respectfully requests that the Clerk enter default

                          against Defendant David Baretto.

                                                                   Respectfully submitted,

                                                                   THE BEASLEY FIRM, LLC

                                                             BY:   /s/Grainne B. Lynn
                                                                   JAMES E. BEASLEY, JR.
                                                                   GRAINNE B. LYNN
                                                                   1125 Walnut Street
                                                                   Philadelphia, PA 19107
                                                                   215.592.1000
                                                                   215.592.8360 (telefax)
                          Dated: December 6, 2021                  Attorneys for Plaintiff




THE BEASLEY FIRM, LLC
  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
       215.592.1000
    215.592.8360 (FAX)
                          __________________________________________________________________
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                                           PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT
                            Case 2:21-cv-02538-JMY Document 18 Filed 12/06/21 Page 2 of 3




                                                             VERIFICATION

                                I, Grainne B. Lynn, Esquire, being duly sworn according to law, verify under

                          penalty of perjury that the foregoing information contained in the foregoing Plaintiff’s

                          Motion for Leave to Serve by Electronic Mail is true and correct to the best of my

                          knowledge, information and belief. This verification is made subject to the penalties of

                          28 U.S.C. §1746.


                                                                          /s/Grainne B. Lynn
                                                                          Grainne B. Lynn


                          Dated: December 6, 2021




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  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
       215.592.1000
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                                                                 Verification
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                                                     CERTIFICATE OF SERVICE

                                I, Grainne B. Lynn, hereby certify that service of a true and correct copy of the

                          foregoing was served upon counsel listed below:

                                                   VIA THE COURT’S ECF SYSTEM

                                                        Michael Baughman, Esq.
                                                       Rosemary T. Cochrane, Esq.
                                                 Troutman Pepper Hamilton Sanders LLP
                                                         3000 Two Logan Square
                                                           18th and Arch Streets
                                                          Philadelphia, PA 19103
                                               Attorneys for Defendant Bryn Mawr College

                                        VIA ELECTRONIC MAIL AND CLERK OF COURTS

                                                       Nelson David Gomez Barretto
                                                        47 W. Mount Airy Avenue
                                                       Philadelphia, PA 19119-2402

                                                                                 /s/Grainne B. Lynn
                                                                                 Grainne B. Lynn

                          Date: December 6, 2021




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  1125 WALNUT STREET
 PHILADELPHIA, PA 19107
       215.592.1000
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                                      __________________________________________________________________
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                                                           CERTIFICATE OF SERVICE
